
Swing, J.
We are of the opinion that this case comes within the rule laid down in the case of Meyers et al. v. Parker, 16 Ohio St., 501.
The liability of the sureties on the bund in this case was to abide the judgment of the appellate court, to-wit, the court of common pleas. There is no judgment of the court of common pleas; hence they are not liable.
The judgment of the court of common pleas was reversed by the circuit court, and by consent of the parties to the action — not the sureties — that court rendered another and different judgment. The sureties did not agree to be liable for the separate and distinct judgment of the circuit court, but they did agree to be liable for the satisfaction of the judgment of the court of common pleas.
When the judgment of the court of common pleas was reversed and held for naught, their obligation on that judg*280ment ceased. The judgment of the court of common pleas is therefore affirmed.
S. A. Miller and Gustav Tafel, for Plaintiffs in Error.
Harmon, Colston, Goldsmith &amp; Hoadly and Thos. Mo-Dong all, for Defendants in Error.
